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             Exhibit B
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                                    LAW OFFICES, PC
                               Sanford M. Hill, MBA, DC, PMD, JD
                                           Attorney at Law
                                             136 Hwy 48
                                            P.O. Box 140
                                         Summerville, GA 30747
            Tel: 706^59-7777                                                Fax: 706-857-0099



            May 17, 2021


            CERTIFIED MAIL:7019 2280 0001 4110 8899

            SEDGWICK
            P.O. BOX 14436
            LEXINGTON, KY 40512-4436

            RE: TIME LIMIT DEMAND

            Your Insured:       Dollar Tree Stores, Inc.
            My Client:          Willie Montgomery
            Claim No.:          30194194595-0001
            Date of Loss:       December 24, 2019
            Location:           2005 Maple Ave SE, Rome, GA 30161-6783

            Dear Claims Department:

            As you know, our firm has been retained to represent Willie Montgomery in his
            personal injury case arising out of a slip and fall incident that occurred on
            December 24, 2019. Liability is clear as my client slipped on a wet floor and
            landed on his back. My client was unaware that the floor was highly saturated
            with water because a caution sign was not strategically placed in the store.

            See the enclosed medical bills and records regarding Mr. Montgomery’s
            treatment for bodily injuries. My client’s specials are $19,705.50. Mr. Montgomery
            has endured pain and suffering as a result of the 12-24-19 incident. I was
            instructed to demand $98,527.50 pursuant to a general release as settlement
            for Mr. Montgomery’s case.




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            This offer to settle is a time-limited offer and will expire 30 days from the date you
            receive this correspondence. If this time limit places you in a difficult position and
            you need additional time, call my office within the next 15 days and we can
            discuss a time extension. You can make your check payable to Willie
            Montgomery and Law Offices, PC, and mail it directly to my Summerville office.
            The firm’s BIN Numbewe-2©-T231611.

            Sinci




            Dr.' SaJifof^M.   Hill

            SMH:mr

            Enclosures


            Cc Willie Montgomery w/o enclosure




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